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wEsTERN DIVISION 05 JU¢_ _8 PH '_ w
wALTER McGHEE, J:I mOM"t‘SF

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U S. E¢§“F’§CT m
Plaintiff,

vs. Civil No. 05»2281-Ml/V

THOMAS E. HANSOM, ET AL.,

Defendants.

v\.¢\_¢\.r\./\_¢v\./\_¢\.¢\_J\-u\.¢

 

ORDER DENYING DEFAULT

 

On June 17, 2005, plaintiff filed a Request for Entry of
Default and Default Judgment against defendants Markowitz, Boyce,
Moss, and Causey & Caywood.

In compliance with Rule 55(a), FRCvP, plaintiff's request for
entry of default against defendants Markowitz, Boyce, Moss, and

Causey & Caywood is DENIED.
Entered this Bth day of July, 2005.

ROBERT R. DI TROLIO,
Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02281 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

